                           UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF NORTH CAROLINA
                                CHARLOTTE DIVISION
                          DOCKET NO. 3:17-cv-00481-FDW-DCK


 JORDAN MOSEMAN, on behalf of himself )
 and all others similarly situated,   )
                                      )
         Plaintiff,                   )
                                      )
 vs.                                  )                              ORDER
                                      )
 U.S. BANK NATIONAL ASSOCIATION, )
                                      )
         Defendant.                   )
                                      )
                                      )

       THIS MATTER is before the Court sua sponte to schedule a class action settlement

fairness hearing. A hearing will be held before the undersigned on Monday, January 7, 2019 at

10:15 a.m. This hearing will be held in Courtroom 1-1 of the Charles R. Jonas Federal Building,

401 W. Trade Street, Charlotte, NC 28202. Parties are hereby ORDERED to send notice of this

hearing to all individuals who have timely opted into this lawsuit. Upon sending such notice of

hearing, Parties are further ORDERED to file a certificate of compliance with this Court within

fourteen (14) days of this order’s entry.

       IT IS SO ORDERED.



                                        Signed: December 18, 2018




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